  Case 17-30112                Doc 201          Filed 03/31/17 Entered 03/31/17 06:10:35                                   Desc Main
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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                  DistrictDistrict
                                            __________     of NorthOfDakota
                                                                      __________

In re ________________________________,
      Vanity Shop of Grand Forks, Inc.                                                            Case No. ________________
                                                                                                            17-30112




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  B.E. Capital Management Fund LP
______________________________________                                       Finesse Novelty Corp
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):     24
should be sent:                                                             Amount of Claim:       $16,206.90
  205 East 42nd Street, 14th Floor                                          Date Claim Filed:      03/21/2017
  New York, NY 10017

         917-310-1206
Phone: ______________________________                                       Phone: 718-425-4812
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: __________
                                                                                                             1238

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________                                       Date:____________________________
                                                                                  03/31/2017
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
